                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 L.E.,

         Plaintiff,
                                                   Case No. 3:21-cv-00835
 v.
                                                   Chief Judge Waverly D. Crenshaw, Jr.
 BILL LEE, et al.,                                 Magistrate Judge Alistair E. Newbern

         Defendants.


                                             ORDER

         Defendants Lee, Reynolds, Morrison, and the members of the Tennessee State Board of

Education and the Tennessee State Board of Education have filed a notice that Defendant Penny

Schwinn has resigned from her position as Commissioner of Education and has been replaced by

Lizzette Gonzalez Reynolds. Reynolds is automatically substituted as a party under Federal Rule

of Civil Procedure 25(d).

         The Clerk’s Office is DIRECTED to update the docket to reflect this substitution of party.

         It is so ORDERED.



                                                      ____________________________________
                                                      ALISTAIR E. NEWBERN
                                                      United States Magistrate Judge




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